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                                                  U.S. Department of Justice


                                                  United States Attorney
                                                  Eastern District of New York
FTB:PP/SKW                                        271 Cadman Plaza East
F. #2021R00019                                    Brooklyn, New York 11201



                                                  July 8, 2024

By ECF

The Honorable Dora L. Irizarry
United States District Court
Eastern District of New York
225 Cadman Plaza East
Brooklyn, NY 11201

               Re:     United States v. Quandelle Joseph
                       Criminal Docket No. 23-306 (DLI)

Dear Judge Irizarry:

               The government respectfully submits this letter in advance of defendant
Quandelle Joseph’s sentencing hearing, which is scheduled for July 30, 2024. For the
reasons set forth below, the government respectfully submits that a sentence within the
Guidelines range of 30 to 37 months’ imprisonment should be imposed in this case.

I.       Background

               The Federal Bureau of Investigation and the Department of Justice’s Office of
Inspector General have been investigating correction officers at the Metropolitan Detention
Center (“MDC”) who have received bribes in exchange for smuggling drugs and other
contraband into the MDC. See Presentence Investigation Report (“PSR”) ¶ 5. As part of the
investigation, law enforcement agents reviewed surveillance video, telephone and financial
records and interviewed correction officers and incarcerated individuals.

                The defendant was hired by the federal Bureau of Prisons (“BOP”) as a
correction officer in May 2020. Id. ¶ 7. Within months of joining the BOP, the defendant
accepted bribes on multiple occasions in exchange for smuggling contraband into the MDC.
For example, on December 5, 2020, while the MDC was on lockdown, the defendant was
working in the G43 housing unit. However, the defendant left G43 with a bedroll – which
consists of sheets, blankets, and other hygiene items typically provided to an inmate when
they arrive at the facility – and brough it to an inmate’s cell (“Inmate-1”) in a different
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housing unit. Because Inmate-1 had been at MDC for months and was not in the defendant’s
unit, and because there was a lockdown at the time, there was absolutely no reason for the
defendant to open Inmate-1’s cell and bring him a bedroll. Approximately four hours later,
MDC staff conducted a search of Inmate-1’s cell because an officer smelled marijuana
emanating from it. Although no marijuana was found, MDC staff recovered a contraband
cell phone from Inmate-1’s cell. Text messages between the defendant and Inmate-1’s
associate showed that, in January 2021, the defendant requested $12,000 as payment for
smuggling contraband to Inmate-1. Id. ¶ 8.

                The evidence shows that the defendant also received bribes from other
inmates. Another inmate (“Inmate-2”) told law enforcement that the defendant smuggled in
contraband, including cell phones, marijuana, and cigarettes, for an inmate in his unit
(“Inmate-3”) who resold the contraband within MDC. Text messages between Inmate-3’s
contraband phone at the MDC and the defendant confirm this information. For example, on
January 26, 2021, the defendant texted Inmate-3 “[wasn’t] no glasses in the bag,” meaning
that the bag of contraband that Inmate-3’s associate had delivered to the defendant did not
contain the glasses Inmate-3 wanted. Inmate-3 responded, “Fuck she forgot them in the crb
shit I guess I get em next time.” Later that evening, the defendant texted Inmate-3 “tighten
up search comin clean phones out call logs n text n try to stash it.” PSR Addendum ¶ 8a. In
total, the defendant received at least two bribes totaling more than $20,000. PSR Addendum
¶ 8b.

              On April 18, 2023, the defendant was arrested on a complaint charging him
with accepting bribes as a public official. He did not make any post-arrest statements. On
January 11, 2024, the defendant pleaded guilty to Count Four of the Indictment, which
charged him with accepting bribes as a public official in violation of 18 U.S.C.
§ 201(b)(2)(C).

II.    Guidelines Calculation

              The government agrees with the Guidelines range as set forth in the PSR:

              Base Offense Level (§ 2C1.1(a)(1)))                                            14

              Plus: More than One Bribe (§ 2C1.1(b)(1))                                      +2

              Plus: More than $15,000 in Bribes (§ 2B1.1(b)(1)(C))                           +4

              Plus: Public Official in Sensitive Position (§ 2C1.1(b)(3))                    +4




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              Minus: Zero Point Offender (§ 4C1.1)                                                -2

              Minus: Acceptance of Responsibility (§ 3E1.1)                                       -3

              Total:                                                                          19

Based on a Criminal History Category of I, the Sentencing Guidelines calculate an advisory
range of imprisonment of 30 to 37 months.

III.   Analysis

          A. Legal Standard

               A “district court should begin all sentencing proceedings by correctly
calculating the applicable Guidelines range. As a matter of administration and to secure
nationwide consistency, the Guidelines should be the starting point and the initial
benchmark.” Gall v. United States, 552 U.S. 38, 49 (2007) (citation omitted).

              Next, a sentencing court should “consider all of the § 3553(a) factors to
determine whether they support the sentence requested by a party. In so doing, [it] may not
presume that the Guidelines range is reasonable. [It] must make an individualized
assessment based on the facts presented.” Id. at 50 (citation and footnote omitted).

               Title 18, United States Code, § 3553(a) provides that, in imposing a sentence,
a court shall consider:
              (1)      the nature and circumstances of the offense and the history and
                       characteristics of the defendant;

              (2)      the need for the sentence imposed—

                       (A)    to reflect the seriousness of the offense, to promote respect for
                              the law, and to provide just punishment for the offense;

                       (B)    to afford adequate deterrence to criminal conduct;

                       (C)    to protect the public from further crimes of the defendant; [and]

                       (D)    to provide the defendant with needed educational or vocational
                              training, medical care, or other correctional treatment in the
                              most effective manner.




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               At sentencing, “the court is virtually unfettered with respect to the information
it may consider.” United States v. Alexander, 860 F.2d 508, 513 (2d Cir. 1988). Indeed,
“[n]o limitation shall be placed on the information concerning the background, character, and
conduct of a person convicted of an offense which a court of the United States may receive
and consider for the purpose of imposing an appropriate sentence.” 18 U.S.C. § 3661. Thus,
the Court should first calculate the applicable Guidelines range, and then apply the Section
3553(a) factors to arrive at an appropriate sentence, considering all relevant facts.

           B. Section 3553(a) Factors

             The government respectfully submits that a Guidelines sentence of 30 to 37
month’s imprisonment is sufficient but not greater than necessary to achieve the goals of
sentencing.

                As an initial matter, the defendant’s conduct was very serious. The BOP and
the criminal justice system placed its trust in the defendant to administer properly the very
important responsibility of guarding incarcerated individuals. However, the defendant chose
to abuse that trust, betraying the duties he owed to the public, the institution, and his fellow
officers by accepting bribes from multiple inmates to smuggle contraband, including cell
phones and drugs, into the MDC. These contraband smuggling schemes, such as the one the
defendant participated in, threaten the safety and integrity of jails.

               Second, the defendant’s conduct was not aberrational or a one-time mistake.
The defendant accepted bribes on more than one occasion, and he began his criminal conduct
shortly after becoming a correction officer. The defendant even warned his co-conspirator
that a search was imminent and that he should hide the contraband phone and delete their text
messages.

                A significant sentence of incarceration would also be consistent with sentences
imposed by other courts. Although some correction officers have received non-incarceratory
sentences for similar conduct, numerous others have received prison terms. See United
States v. Christian Mizell, 18-CR-060 (PKC) (E.D.N.Y.) (19 months’ imprisonment for
correction officer who received bribes and smuggled in contraband on at least two
occasions); United States v. Simon Gordon, 19-CR-352 (CBA) (E.D.N.Y.) (eight months’
imprisonment for receiving $10,000 in bribes to smuggle marijuana, tobacco, suboxone and a
cell phone); United States v. Victor Casado, 18-CR-374 (RJS) (S.D.N.Y.) (36 months’
imprisonment for receiving over $25,000 in bribes to smuggle alcohol and cell phones into
federal jail; correction officer also implicitly threatened one of the inmates who paid him);
United States v. John Grosso, 15-CR-207 (SRC) (D. N.J.) (correction officer who smuggled
a cell phone and cigarettes into prison sentenced to 24 months’ imprisonment). Recently,
Judge Amon sentenced a Rikers Island correction officer who received more than $34,000 in
bribes to a year and a day in prison even though the defendant had serious health problems.
United States v. Patterson, 22-CR-196 (CBA).



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               Custodial sentences in these cases are necessary not only to provide just
punishment but also to deter others from engaging in similar conduct. The receipt of bribes
by correction officers to smuggle narcotics and other items has caused significant disruption
to the MDC and the safety of incarcerated individuals. The Court should send a message to
other correction officers, responsible for the safety of inmates and their colleagues, that the
consequences of bribery will be significant.

IV.    Conclusion

              For the foregoing reasons, the government respectfully requests that the Court
impose a sentence within the range of 30 to 37 months’ imprisonment.

                                                   Respectfully submitted,

                                                   BREON PEACE
                                                   United States Attorney

                                            By:     /s/ Philip Pilmar
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cc:    Clerk of the Court (FB) (by ECF)
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